        Case 23-03036 Document 39 Filed in TXSB on 04/12/23 Page 1 of 6




                  IN THE UNITED STATES BANKRUPTCY COURT
                        SOUTHERN DISTRICT OF TEXAS
                             HOUSTON DIVISION

                                                       Bankruptcy
In re
                                                       Case No. 22-33553 (CML)
Alexander E. Jones,
                                                       Chapter 11
              Debtor,

                                                       Bankruptcy
In re
                                                       Case No. 22-60043 (CML)
Free Speech Systems LLC,
                                                       Chapter 11
              Debtor,

Neil Heslin, Scarlett Lewis, Leonard Pozner,
Veronique De La Rosa, and Estate of                    Adv. Pro. No.: 23-03034 (CML)
Marcel Fontaine,
              Plaintiffs,
        v.
Alexander E. Jones and Free Speech Systems LLC,
              Defendants.

David Wheeler, Francine Wheeler, Jacqueline
Barden, Mark Barden, Nicole Hockley, Ian Hockley,      Adv. Pro. No. 23-03036 (CML)
Jennifer Hensel, Donna Soto, Carlee Soto-Parisi,
Carlos M. Soto, Jillian Soto Marino, William
Aldenberg, William Sherlach, Robert Park, and
Richard M. Coan, as chapter 7 trustee for the estate
of Erica Lafferty,
              Plaintiffs,
v.
Alexander E. Jones and Free Speech Systems LLC,
              Defendants.


STIPULATION AND AGREED ORDER ABATING FSS ADVERSARY PROCEEDINGS
         Case 23-03036 Document 39 Filed in TXSB on 04/12/23 Page 2 of 6




        This stipulation and agreed order (“Stipulation and Agreed Order”) is made by and between

debtor Free Speech Systems, LLC (“FSS”), the Texas Plaintiffs, 1 and the Connecticut Plaintiffs in

the above-captioned cases:

        WHEREAS, on July 29, 2022, FSS filed a voluntary petition for relief under Chapter 11

of title 11 of the United States Code (the “Bankruptcy Code”) with the United States Bankruptcy

Court for the Southern District of Texas (the “Court”) (Bankruptcy Case No. 22-60043 (CML);

        WHEREAS, on December 2, 2022, Alexander E. Jones (“Jones”) filed a voluntary petition

for relief under the Bankruptcy Code with the Court (Bankruptcy Case No. 22-33553 (CML));

        WHEREAS, on March 10, 2023, the Texas Plaintiffs filed adversary proceedings against

FSS and Jones, (Adv. Pro. Nos.: 23-03034 and 23-03035 (together, the “Texas Plaintiffs’

Adversary Proceedings”));

        WHEREAS, on March 10, 2023, the Connecticut Plaintiffs filed adversary proceedings

against FSS and Jones, (Adv. Pro. Nos.: 23-03036 and 23-03037 (together, the “Connecticut

Plaintiffs’ Adversary Proceedings,” and with the Texas Plaintiffs’ Adversary Proceedings, the

Adversary Proceedings”));

         WHEREAS, on March 24, 2023, the Texas Plaintiffs and Connecticut Plaintiffs filed the

Texas and Connecticut Plaintiffs’ Motions;

        WHEREAS, on April 4, 2023, the Court held a hearing on the Texas and Connecticut

Plaintiffs’ Motions;


1
    Defined terms used, but not defined herein, have the meanings ascribed to them in Emergency Motion of the Texas
    Plaintiffs for Entry of an Order (A) Scheduling Certain Dates and Deadlines, (B) Establishing Certain Protocols
    in Connection with Such Hearings, and (C) Granting Related Relief [Docket No. 7 in Adv. Pro. Case Nos. 23-
    03034 (CML) and 23-03035 (CML)] (the “Texas Plaintiffs’ Motion”) and the Emergency Motion of the
    Connecticut Plaintiffs for Entry of an Order (A) Scheduling Certain Dates and Deadlines, (B) Establishing
    Certain Protocols in Connection with Such Hearings, and (C) Granting Related Relief [Docket No. 16 in Adv.
    Pro. Case Nos. 23-03036 (CML) and 23-03037 (CML)] (the “Connecticut Plaintiffs’ Motion,” and together with
    the Texas Plaintiffs’ Motion, the “Texas and Connecticut Plaintiffs’ Motions”)
          Case 23-03036 Document 39 Filed in TXSB on 04/12/23 Page 3 of 6




         NOW, THEREFORE, IT IS HEREBY STIPULATED, AGREED AND SO

ORDERED:

         1.    Adversary Proceedings 23-03034 and 23-03036 (together, the “FSS Adversary

Proceedings”) shall be abated until the earlier of fourteen (14) days after the Fifth Circuit Court of

Appeals issues a decision in, or declines to hear, the appeal certified on February 2, 2023 in Avion

Funding, LLC v. GFS Industries, LLC¸ Case No. 23-90009.

         2.    Jones and FSS shall not argue that the pendency of the Adversary Proceedings

prohibits the Texas Plaintiffs and/or the Connecticut Plaintiffs from taking any discovery outside

of the Adversary Proceedings that they would otherwise be entitled to take pursuant to Rule 2004

of the Federal Rules of Bankruptcy Procedure and Local Rule 2004-1 of the United States

Bankruptcy Court for the Southern District of Texas.

         3.    By entry of this Order, the Connecticut Plaintiffs and the Texas Plaintiffs hereby

dismiss Jones, without prejudice, from the FSS Adversary Proceedings.

         4.    For the avoidance of doubt, the Texas Plaintiffs and Connecticut Plaintiffs agree

not to assert that FSS is estopped from relitigating matters that are litigated in the Jones Adversary

Proceedings (Case Nos. 23-03035 and 23-03037) while the FSS Adversary Proceedings are abated.

         5.    This Stipulation and Agreed Order shall not be modified, altered, amended, or

vacated without the prior written consent of FSS, the Texas Plaintiffs, and Connecticut Plaintiffs,

and any such amendment, modification or alteration, in whole or in part, shall be subject to the

approval of the Court.

         6.    The Court retains exclusive jurisdiction with respect to all matters arising from or

related to the implementation, interpretation, and enforcement of this Stipulation and Agreed

Order.
         Case 23-03036 Document 39 Filed in TXSB on 04/12/23 Page 4 of 6




 THE FOREGOING STIPULATION IS SO ORDERED:


 Dated: April ___, 2023                                ______________________________
                                                       Hon. Christopher M. Lopez
                                                       United States Bankruptcy Judge


 AGREED IN FORM AND SUBSTANCE:

 Dated: April 12, 2023

CAIN & SKARNULIS PLLC                         WILLKIE FARR & GALLAGHER LLP
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                                                 WILLIAMS & AUGHTRY, PC
Counsel to the Connecticut Plaintiffs other than Jarrod B. Martin
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estate of Erica Lafferty                         1200 Smith Street Suite 1400
                                                 Houston, Texas 77002
         Case 23-03036 Document 39 Filed in TXSB on 04/12/23 Page 5 of 6




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Counsel to Debtor Free Speech Systems, LLC
        Case 23-03036 Document 39 Filed in TXSB on 04/12/23 Page 6 of 6




                                CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing stipulation has been served on
counsel for FSS and Jones and all parties receiving or entitled to notice through CM/ECF on this
12th day of April, 2023.

                                                     /s/ Ryan E. Chapple
                                                     Ryan E. Chapple
